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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                           )
UNITED STATES OF AMERICA                   )
                                           )       No. 09cr971
          v.                               )
                                           )       Judge John F. Grady
JEFFERY CARTER                             )

               MOTION TO WITHDRAW AS APPOINTED COUNSEL

       The Federal Defender Program and its attorney MIANGEL C. CODY,

respectfully requests that Ms. Cody be allowed to withdraw as appointed counsel for

defendant Jeffery Carter. In further support, defendant states as follows:

       1. Jeffery Carter was taken into federal custody on November 19, 2009. The

Federal Defender Program and its attorney, MiAngel Cody, were appointed to

represent Mr. Carter at the initial appearance and arraignment, which was held on

November 23, 2009. Mr. Carter has entered a plea of not guilty, and the case is

scheduled to proceed to trial on February 2, 2011.

       2. Serious differences have arisen between Mr. Carter and Ms. Cody. Without

going into the substance of attorney-client discussions, Mr. Carter has requested

undersigned counsel to file a number of motions and take defensive steps which may

lack a legal, strategic or ethical basis. Counsel is not sure that she has effectively

informed the client as to what it is that he is facing or what his options are. A good deal

of effort has been expended in this regard, and a good deal of that effort has resulted in
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conflict between attorney and client. It appears that Mr. Carter does not trust Ms.

Cody’s advice and opinions about the law. As a result, an unproductive attorney-client

relationship presently exists.

       3. This probably constitutes a conflict of interest. At very least, it appears that

Mr. Carter might benefit from a second opinion. If new counsel’s opinions happen to

coincide with present counsel’s, it is at least possible that Mr. Carter may start to believe

that the opinions are not held for reasons of incompetence, disloyalty, or animosity.

       4. For these reasons, defense counsel moves to withdraw from the case, and

requests that a different attorney be appointed to counsel Mr. Carter.

       WHEREFORE, for the above-noted reasons, defendant respectfully requests that

the Federal Defender Program and Ms. Cody be allowed to withdraw as appointed

counsel in this case, and that a member of the Federal Defender Panel be appointed to

represent Mr. Carter.

                                           Respectfully submitted,

                                           FEDERAL DEFENDER PROGRAM
                                           Carol A. Brook
                                           Executive Director

                                           By:____/s/ MiAngel Cody________________
                                                 MiAngel C. Cody

MIANGEL C. CODY
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                             CERTIFICATE OF SERVICE

      The undersigned, MiAngel Cody, an attorney with the Federal Defender
Program, hereby certifies that the following document:



              MOTION TO WITHDRAW AS APPOINTED COUNSEL

was served on December 17, 2010, in accordance with Fed. R. Civ. P. 5, LR 5.5, and the
General Order on Electronic Case Filing (ECF), pursuant to the district court’s ECF
system as to ECF filers, and was sent by first-class mail or by hand delivery to non-ECF
filers, if any.



                                         By:    s/ MiAngel Cody
                                                MIANGEL CODY
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